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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

 ASHLEY MALONE,
                            Plaintiff,                   Case 3:14-CV-00152-CRS-JDM
 v.

 PORTFOLIO RECOVERY
 ASSOCIATES, LLC,
                       Defendant.
 _______________________________)

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff, Ashley Malone,

 and Defendant, Portfolio Recovery Associates, LLC, hereby jointly request that this Court

 dismiss, with prejudice, Plaintiff’s individual claims against Defendant, Portfolio Recovery

 Associates, LLC, known or unknown, and which were asserted or which could have been

 asserted, in the above styled action. The parties shall bear their own costs and fees.


 Dated: September 4, 2018                           Dated: September 4, 2018

 /s/ James H. Lawson (w/ permission)                s/ R. Brooks Herrick
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 4, 2018 the foregoing was filed electronically using the
 Court’s CM/ECF system, which served an electronic copy upon the following:

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                                              /s/ R. Brooks Herrick
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                                              Associates, LLC


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